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                        EXHIBIT C
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                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF MICHIGAN



          UNITED STATES OF A..\.1ERICA
                                           SOUTHERN DIVISION


                                                                )
                                                                )
                                                                )
                                                                       Criminal No.

                                                                       Filed:
                                                                                         1,- f}-01 { 0
                                V.                              )

          MITSUBISHI ELECTRIC CORPORATION,
                                                                )
                                                                )
                                                                       Violation:                 Fiteo
                                                                )
                                        Defendant.              )                                   NOV -6 2013
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                                                                                          U.S. D1STFI/C0FFJC£
                                             PLEA AGREEMENT                               £ASTERN MICTHCOURT
                                                                                                         IGAN
                 The United States of America and Mitsubishi Electric Corporation ("defendant"), a

          corporation organized and existing under the laws of Japan, hereby enter into the following Plea

          Agreement pursuant to Rule l l(c) (1) (C) of the Federal Rules of Criminal Procedure ("Fed. R.

          Crim. P."):

                                            RIGHTS OF DEFENDANT

                 1.     The defendant understands its rights:


                         (a)    to be represented by an attorney;


                         (b)    to be charged by Indictment;


                         (c)    as a corporation organize-d and existing under the laws of Japan, to decline

                 to accept service of the Summons in this case, and to contest the jurisdiction of the

                 United States to prosecute this case against it in the United States District Court for the

                 Eastern District of Michigan;
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                          (d)     to plead not guilty to any criminal charge brought against it;


                          (e)     to have a trial by jury, at which it would be presumed not guilty of the

                  charge and the United States would have to prove every essential element of the charged

                  offense beyond a reasonable doubt for it to be found guilty;


                          (f)     to confront and cross-examine witnesses against it and to subpoena

                  witnesses in its defense at trial;


                          (g)     to appeal its conviction if it is found guilty; and


                          (h)     to appeal the imposition of sentence against it.


                                         AGREEMENT TO PLEAD GUILTY
                                          AND WAIVE CERTAIN RIGHTS

                  2.      The defendant knowingly and voluntarily waives the rights set out in Paragraph

           l(b)-(g) above. The defendant also knowingly and voluntarily waives the right to file any appeal,

           any collateral attack, or any other writ or motion, including but not limited to an appeal under 18

           U.S.C. § 3742, that challenges the sentence imposed by the Court if that sentence is consistent

           with or below the recommended sentence in Paragraph 9 of this Plea Agreement, regardless of

           how the sentence is determined by the Court. This agreement does not affect the rights or

           obligations of the United States as set forth in 18 U.S.C. § 3742(b)-(c). Nothing in this

           paragraph, however, will act as a bar to the defendant perfecting any legal remedies it may

           otherwise have on appeal or collateral attack respecting claims of ineffective assistance of

           counsel or prosecutorial misconduct. The defendant agrees that there is currently no known

           evidence of ineffective assistance of counsel or prosecutorial misconduct. Pursuant to Fed. R.

           Crim. P. 7(b), the defendant will waive indictment and plead guilty to a one-count Information to


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           be filed in the United States District Court for the Eastern District of Michigan. The Information

           will charge the defendant with participating in a combination and conspiracy to suppress and

           eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

           stabilize, and maintain the price of, certain automotive parts sold to automobile manufacturers in

           the United States and elsewhere, from at least as early as January 2000 until at least February

           2010, in violation ofthe Sherman Antitrust Act, 15 U.S.C. § l.


                  3.      The defendant will plead guilty to the criminal charge described in Paragraph 2

           above pursuant to the terms of this Plea Agreement and will make a factual admission of guilt to

           the Court in accordance with Fed. R. Crim. P. I I, as set forth in Paragraph 4 below.


                                   FACTUAL BASIS FOROFFENSE CHARGED


                  4.      Had this case gone to trial, the United States would have presented evidence

           sufficient to prove the following facts:


                          (a)     For purposes of this Plea Agreement, the "relevant period" is that period

                  from at least as early as January 2000 until at least February 2010. During the relevant

                  period, the defendant was a corporation organized and existing under the laws of Japan.

                  The defendant had its principal place of business in Tokyo, Japan. During the relevant

                  period, the defendant was a manufacturer of various automotive parts as defined in

                  Paragraph 13. These automotive parts included starter motors, alternators and ignition

                  coils. The Defendant was engaged in the sale of these parts in the United States and

                  elsewhere, and employed 5,000 or more individuals. Starter motors are small electric

                  motors used in starting internal combustion engines. Alternators generate an electric

                  current while the engine is in operation. Ignition coils are part of the fuel ignition system


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                and release electric energy suddenly to ignite a fuel mixture. During the.relevant period,

                the defendant's sales of automotive parts, including starters, alternators and ignition coils,

                affecting Ford Motor Company, General Motors LLC, Chrysler Group LLC, Fuji Heavy

                Industries Ltd., Nissan Motor Company, Ltd. , Honda Motor Company Ltd. and certain of

                their subsidiaries in the United States and elsewhere totaled more than $678 million.


                       (b)     During the relevant period, the defendant, through its officers and

                employees, including high-level personnel of the defendant, participated in a conspiracy

                among major automotive parts manufacturers, the primary purpose of which was to rig

                bids for, and to fix, stabilize and maintain the prices of, certain automotive parts sold to

                Ford Motor Company, General Motors LLC, Chrysler Group LLC, Fuji Heavy Industries

                Ltd., Nissan Motor Company Ltd., Honda Motor Company Ltd., Toyota Motor

                Corporation and certain of their subsidiaries in the United States and elsewhere. In

                furtherance of the conspiracy, the defendant, through its officers and. empl!yees, engaged

                in discussions and attended meetings with representatives of other major automotive parts

                manufacturers. During these discussions and meetings, agreements were reached to

                allocate the supply of certain automotive parts sold to automobile manufacturers, rig bids

                quoted to automobile manufacturers for certain automotive parts, and to fix, stabilize, and

                maintain the prices, including coordinating price adjustments requested by automobile

                manufacturers, of certain automotive parts sold to automobile manufacturers in the

                United States and elsewhere.


                       (c)     During the relevant period, automotive parts sold by one or more of the

                conspirator firms, and equipment and supplies necessary to the production and

                distribution of automotive parts, as well as payments for automotive parts, traveled in


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                interstate commerce. The business activities of the defendant and its co-conspirators in

                connection with the production and sale of automotive parts that were the subjects of this

                conspiracy, were within the flow o~ and substantially affected, interstate trade and

                commerce.


                       (d)     The conspiratorial meetings and discussions described above took place in

                the United States and elsewhere, and automotive parts that were the subject of this

                conspiracy were sold to Ford Motor Company, General Motors LLC, Chrysler Group

                LLC, Fuji Heavy Industries Ltd., Nissan Motor Company Ltd., Honda Motor Company

                Ltd. and certain of their subsidiaries by the defendant's United States indirect subsidiary,

                Mitsubishi Electric Automotive America, Inc. which is located in the Eastern District of

                Michigan.


                       (e)     During the conspiracy, defendant took affirmative steps to hide the nature

                and substance of their agreements with competitors. This included the use of code words

                and minimizing the number of employees aware of the agreements. In 2007, employees

                of the defendant were clearly instructed to comply strictly with all antitrust laws, rules,

                and regulations. Despite the directive to comply with antitrust laws, certain of the

                defendant's employees who were engaged in the sales ofautomotive parts subject to this

                Agreement continued to reach agreements with competitors on allocating parts and

                customers based on direction from senior managers. Additionally, certain of the

                defendant's employees who were engaged in the sales of such automotive parts took

                further steps to hide the nature and. substance of the agreements.




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                          (f)     In February of 2010, employees of the defendant became aware of a

                  criminal investigation into the automotive parts industry when one of their coconspirators

                  was searched by law enforcement authorities in the United States. Upon learning of the

                  searches, employees of the defendant took steps to destroy evidence of their criminal

                  activity for fear of its discovery by law enforcement. This evidence included electronic

                  files and paper documents located in both the United States and Japan. These efforts to

                  destroy documents were approved by senior managers in Japan.


                                          ELEMENTS OF THE 013'FENSE

                  5.      The elements of the charged offense are that:


                          (a)     the conspiracy described in the Information existed at or about the time

                  alleged;


                          (b)     the defendant knowingly became a member of the conspiracy; and


                          (c)     the conspiracy described in the Information either substantially affected

                  interstate commerce in goods or services or occurred within the flow of interstate

                  commerce in goods and services.


                                        POSSIBLE MAXIMUM SENTENCE


                  6.      The defendant understands that the statutory maximum penalty which may be

           imposed against it upon conviction for a violation of Section One of the Sherman Antitrust Act is

           a fine in an amount equal to the greatest of:


                          (a)      $100 million (15 U.S.C. § I);



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                          (b)    twice the gross pecuniary gain the conspirators derived from the crime (18

                  U.S.C. § 3571(c) and (d)); or


                          (c)    twice the gross pecuniary loss caused to the victims of the crime by the

                  conspirators (18 U.S.C. § 3571(c) and (d)).


                  7.      In addition, the defendant understands that:


                          (a)    pursuant to 18 U.S.C. § 356l(c)(l), the Court may impose a term of

                  probation of at least one year, but not more than five years;


                          (b)    pursuant to §8Bl.l of the United States Sentencing Guidelines

                  ("U.S.S.G.," "Sentencing Guidelines," or "Guidelines") or 18 U.S.C. § 3563(b)(2) or

                  3663(a)(3), the Court may order it to pay restitution to the victims of the offense; and


                          (c)    pursuant to 18 U.S.C. § 3013 (a)(2)(B), the Court is required to order the

                  defendant to pay a $400 special assessment upon conviction for the charged crime.


                                           SENTENCING GUIDELINES

                  8.      The defendant understands that the Sentencing Guidelines are advisory, not

           mandatory, but that the Court must consider, in determining and imposing sentence, the

           Guidelines Manual in effect on the date of sentencing_unless that Manual provides for greater

           punishment than the Manual in effect on the last date that the offense of conviction was

           committed, in which case the Court must consider the Guidelines Manual in effect on the last

           date that the offense of conviction was committed. The parties agree there is no ex post facto

           issue with respect to the recommended sentence in Paragraph 9 of the Plea Agreement under the




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           November, 2012 Guidelines Manual. The Court must also consider the other factors set forth in

           18 U.S.C. § 3553(a) in determining and imposing sentence. The defendant understands that the

           Guidelines determinations will be made by the Court by a preponderance of the evidence

           standard. The defendant understands that although the Court is not ultimately bound to impose a

           sentence within the applicable Guidelines range, its sentence must be reasonable based upon

           consideration ofall relevant sentencing factors set forth in 18 U.S.C. § 3553(a).


                                            SENTENCING AGREEMENT


                  9.      Pursuant to Fed. R. Crim. P. ll(c)(l)(C) and subject to the full, truthful, and

           continuing cooperation of the defendant and its subsidiaries, as defined in Paragraph 13 of this

           plea agreement, the United States and the defendant agree that the appropriate disposition of this

           case is, and agree to recommend jointly that the Court impose, a sentence requiring the defendant

           to pay to the United States a criminal fine of$190 million, pursuant to 18 U.S.C. § 357l(d),

           payable in full before the fifteenth (15th) day after the date ofjudgment and no order of

           restitution ("the recommended sentence"). The parties agree that there exists no aggravating or

           mitigating circumstance of a kind, or to a degree, not adequately taken into consideration by the

           U.S. Sentencing Commission in fonnulating the Sentencing Guidelines justifying a departure

           pursuant to U.S.S.G. §5K2.0. The parties agree not to seek at the sentencing hearing any

           sentence outside of the Guidelines range nor any Guidelines adjustment for any reason that is not

           set forth in this Plea Agreement. The parties further agree that the recommended sentence set

           forth in this Plea Agreement is reasonable.




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                        (a)     The defendant understands that the Court will order it to pay a $400

                 special assessment, pursuant to 18 U.S.C. § 3013(a)(2)(B), in addition to any fine

                 imposed.


                        (b)     In light of the availability of civil causes of action, which potentially

                 provide for a recovery of a multiple of actual damages, the recommended sentence does

                 not include a restitution order for the offense charged in the Information.


                        (c)     Both parties will recommend that no term of probation be imposed, but the

                 defendant understands that the Court's denial of this request will not void this Plea

                 Agreement.


                        ( d)    The United States and the defendant jointly submit that this Plea

                 Agreement, together with the record that will be created by the United States and the

                 defendant at the plea and sentencing hearings, and the further disclosure described in

                 Paragraph 11, will provide sufficient information concerning the defendant, the crime

                 charged in this case, and the defendant's role in the crime to enable the meaningful

                 exercise of sentencing authority by the Court under 18 U.S.C. § 3553. The United States

                 and defendant agree to request jointly that the Court accept the defendant's guilty plea

                 and impose sentence on an expedited schedule as early as the date of arraignment, based

                 upon the record provided by the defendant and the United States, under the provisions of

                 Fed. R. Crim. P. 32(c)(l)(A)(ii), U.S.S.G. §6Al.l, and Rule 32.l(h) of the Criminal Local

                 Rules. The Court's denial of the request to impose sentence on an expedited schedule will

                 not void this Plea Agreement.




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                           (e)     The United States contends that had this case gone to trial, the United

                   States would have presented evidence to prove that the gain derived from or the loss

                   resulting from the charged offense is sufficient to justify the recommended sentence set

                   forth in this paragraph, pursuant to 18 U.S.C. § 3571(d). For purposes of this plea and

                   sentencing only, the defendant waives its rights to contest this calculation.


                   10.     The United States and the defendant agree that the applicable Guidelines fine

            range exceeds the fine contained in the recommended sentence set out in Paragraph 9 above.

            Subject to the full, truthful, and continuing cooperation of the defendant and its subsidiaries, as

            defined in Paragra!)h 13 of this Plea Agreement, and prior to sentencing in this case, the United

            States agrees that it will make a motion, pursuant to U.S.S.G. §8C4.1, for a downward departure

            from the Guidelines fine range and will request that the Court impose the recommended sentence

            set out in Paragraph 9 of this Plea Agreement because of the defendant's and its subsidiaries'

            substantial assistance in the government's investigation and prosecutions of violations of federal

            criminal law in the automotive parts industry.


                   11.     Subject to the full, truthful, and continuing cooperation of the defendant and its

            subsidiaries, as defined in Paragraph 13 of this Plea Agreement, and prior to sentencing in this

            case, the United States will fully advise the Court and the Probation Office of the fact, manner,

            and extent of the defendant's and its subsidiaries' cooperation and their commitment to

            prospective cooperation with the United States' investigation and prosecutions, all material facts

            relating to the defendant's involvement in the charged offense, and all other relevant conduct.




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                   12.       The United States and the defendant understand that the Court retains complete

           discretion to accept or reject the recommended sentence provided for in Paragraph 9 of this Plea

           Agreement.


                             (a)    lfthe Court does not accept the recommended sentence, the United States

                  and the defendant agree that this Plea Agreement, except for Paragraph I2(b) below, will

                  be rendered void.


                             (b)    If the Court does not accept the recommended sentence, the defendant will

                  be free to withdraw its guilty plea (Fed. R. Crim. P. l l(c)(5) and (d)). If the defendant

                  withdraws its plea of guilty, this Plea Agreement, the guilty plea, and any statement made

                  in the course of any proceedings under Fed. R Crim. P. I I regarding the guilty plea or

                  this Plea Agreement or made in the course of plea discussions with an attorney for the

                  government will not be admissible against the defendant in any criminal or civil

                  proceeding, except as otherwise provided in Fed. R Evid. 410. In addition, the defendant

                  agrees that, if it withdraws its guilty plea pursuant to this subparagraph of this Plea

                  Agreement, the statute oflimitations period for any offense referred to in Paragraph 15 of

                  this Plea Agreement will be tolled for the period between the date of the signing of this

                  Plea Agreement and the date the defendant withdrew its guilty plea or for a period of

                  sixty (60) days after the date of the signing of this Plea Agreement, whichever period is

                  greater.


                                            DEFENDANT'S COOPERATION


                  13.        The defendant and its subsidiaries will cooperate fully and truthfully with the

           United States in the prosecution of this case, the current federal investigation of violations of


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            federal antitrust and related criminal laws involving the manufacture or sale of automotive parts,

            any other federal investigation resulting therefrom, a..'ld any litigation or other proceedings

            arising or resulting from any such investigation to which the United States is a party (collectively

            "Federal Proceeding"). The defendant's subsidiaries for purposes of this Plea Agreement are

            entities engaged in the manufacture or sale of automotive parts that the defendant directly or

            indirectly had a greater than 50% ownership interest in as of the date of signature of this Plea

            Agreement. Federal Proceeding includes, but is not limited to, an investigation, prosecution,

            litigation, or other proceeding regarding obstruction of, the making of a false statement or

            declaration in, the commission of perjury or subornation of perjury in, the commission of

            contempt in, or conspiracy to commit such offenses in a Federal Proceeding. Automotive parts

            for purposes of this Plea Agreement are limited to: AC generators, air bag sensors, air bags, air

            flow sensors, alternators, cam and crank sensors, electric power steering motors, electronic

            control units (ECU), exhaust gas recirculation valves (EGR), fuel injectors, fuel pumps, high

            intensity discharge ballasts (HID), ignition coils, integrated units, keyless entry systems,

            manifold absolute pressure sensors (MAP), purge control valves, starter motors, throttle bodies,

            variable cam timing (VCT), and variable valve timing (VVT). The full, truthful, and continuing

            cooperation of the defendant and its subsidiaries will include, but not be limited to:


                           (a)     producing to the United States all documents, information, and other

                   materials, wherever located, not privileged under the attorney client privilege or the work

                   product privilege, (and with translations into English), in ~e possession, custody, or

                   control of the defendant or any of its subsidiaries, requested by the United States in

                   connection with any Federal Proceeding;




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                           (b)     using its best efforts to secure the full, truthful, and continuing

                   cooperation,   as defined in Paragraph 14 of this Plea Agreement, of the current and former
                   directors, officers, and employees of the defendant or any of its subsidiaries, as may be

                   requested by the United States, but excluding the five individuals listed in Attachment A

                   filed under seal, including making these persons available in the United States and at

                   other mutually agreed-upon locations, at the defendant's expense, for interviews and the

                   provision of testimony in grand jury, trial, and other judicial proceedings in connection

                   with any Federal Proceeding. Current directors, officers, and employees are defined for

                   purposes ofthis Plea Agreement as individuals who are directors, officers, or employees

                   of the defendant or any of its subsidiaries as of the date of signature of this Plea

                   Agreement.


                    14.    The full, truthful, and continuing cooperation of each person described in

            Paragraph 13(b) above will be subject to the procedures and protections of this paragraph, and

            will include, but not be limited to:


                           (a)     producing in the United States and at other mutuaUy agreed-upon

                   locations all documents, including claimed personal documents, and other materials,

                   wherever located, not privileged under the attorney-client privilege or the work product

                   privilege, (and with translations into English), that are requested by attorneys and agents

                   of the United States in connection with any Federal Proceeding;


                           (b)     making himself or herself available for interviews in the United States and

                   at other mutually agreed-upon locations, not at the expense of the United States, upon the




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                request of attorneys and agents of the United States in connection with any Federal

                Proceeding;


                        (c}     responding fully and truthfully to all inquiries of the United States in

                 connection with any Federal Proceeding, without falsely implicating any person or

                intentionally withholding any information, subject to the penalties of making false

                 statements or declarations (18 U.S.C. §§ 1001, 1623), obstruction ofjustice (18 U.S.C. §

                 1503, et seq.), or conspiracy to commit such offenses;


                        (d)     otherwise voluntarily providing the United States with any material or

                 infonnation not requested in (a) - (c) of this paragraph and not privileged under the

                 attorney-client privilege or work product privilege that he or she may have that is related

                 to any Federal Proceeding;


                        (e)     when called upon to do so by the United States in connection with any

                 Federal Proceeding, testifying in grand jury, trial, and other judicial proceedings in the

                 United States fully, truthfully, and under oath, subject to the penalties of perjury (18

                 U.S.C. § 1621), making false statements or declarations in grand jury or court

                 proceedings (I8 U.S.C. § 1623), contempt (18 U.S.C. §§ 401-402), and obstruction of

                justice (18 U.S.C. § 1503, et seq.); and


                        (f)     agreeing that, if the agreement not to prosecute him or her in this Plea

                 Agreement is rendered void under Paragraph 16(c), the statute of limitations period for

                 any Relevant Offense, as defined in Paragraph 16(a), will be tolled as to him or her for

                 the period between the date of the signing of this Plea Agreement and six (6) months after




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                   the date that the United States gave notice of its intent to void its obligations to that

                   person under this Plea Agreement.


                                           GOVERNMENTS AGREEMENT


                    15.    Subject to the full, truthful, and continuing cooperation of the defendant and its

            subsidiaries, as defined in Paragraph 13 of this Plea Agreement, and upon the Court's acceptance
                                                             ,.
            of the guilty plea called for by this Plea Agreement and the imposition of the recommended

            sentence, the United States agrees that it will not bring further criminal charges against the

            defendant or any of its subsidiaries for any act or offense committed before the date of signature

            of this Plea Agreement that (a) was undertaken in furtherance ofan antitrust conspiracy

            involving the manufacture or sale of automotive parts as defined in Paragraph 13 or (b) specified

            in Paragraph 4(f). The nonprosecution terms of this paragraph do not apply to (a) any acts of

            subornation of perjury (18 U.S.C. § 1622), making a false statement (18 U.S.C. § 1001),

            obstruction of justice (18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-402), or

            conspiracy to commit such offenses, except for the conduct specified in Paragraph 4(t) of this

            Plea Agreement; (b) civil matters of any kind; (c) any violation of the federal tax or securities

            laws or conspiracy to commit such offenses; or (d) any crime of violence.


                   16.     The United States agrees to the following:


                           (a)     Upon the Court's acceptance of the guilty plea called for by this Plea

                   Agreement and the imposition of the recommended sentence and subject to the

                   exceptions noted in Paragraph 16(c), the United States will not bring criminal charges

                   against any current or former director, offi'cer, or employee of the defendant or its

                   subsidiaries for any act or offense committed before the date of signature of this Plea


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                 Agreement and while that person was acting as a director, officer, or employee of the

                 defendant or its subsidiaries that was undertaken in furtherance of an antitrust conspiracy

                 involving the manufacture or sale of automotive parts as defined in Paragraph 13

                 ("Relevant Offense''), except that the protections granted in this paragraph do not apply

                 to the five individuals listed in Attachment A filed under seal;


                        (b)     Should the United States determine that any current or former director,

                 officer, or employee of the defendant or its subsidiaries may have information relevant to

                 any Federal Proceeding, the United St.ates may request that person's cooperation under

                 the tenns of this Plea Agreement by written request delivered to counsel for the

                 individual (with a copy to the undersigned counsel for the defendant) or, if the individual

                 is not known by the. United States to be represented, to the undersigned counsel for the

                 defendant;


                        (c)     If any person requested to provide cooperation under Paragraph 16(b) fails

                 to comply with his or her obligations under Paragraph 14, then the terms of this Plea

                 Agreement as they pertain to that person and the agreement not to prosecute that person

                 granted in this Plea Agreement will be rendered void, and the United St.ates may

                 prosecute such person criminally for any federal crime of which the United States has

                 knowledge, including, but not limited to any Relevant Offense;


                        (d)     Except as provided in Paragraph 16(e), information provided by a person

                 described in Paragraph 16(b) to the United St.ates under the terms of this Plea Agreement

                 pertaining to any Relevant Offense, or any information directly or indirectly derived from

                that information, may not be used against that person in a criminal case, except in a



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                   prosecution for perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making a false

                   statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §

                   1503, et seq.), contempt (18 U.S.C. §§ 401-402) or conspiracy to commit such offenses;


                           (e)     If any person who provides information to the United States under this

                   Plea Agreement fails to comply fully with his or her obligations under Paragraph 14 of

                   this Plea Agreement, the agreement in Paragraph 16(d) not to use that infonnation or any

                   infonnation directly or indirectly derived from it against that person in a criminal case

                   will be rendered void;


                           (f)     The nonprosecution terms of this paragraph do not apply to civil matters

                   of any kind; any violation of the federal tax or securities laws or conspiracy to commit

                   such offenses; any crime of violence; or perjury or subornation of perjury (18 U.S.C. §§

                   1621-22), making a false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction

                   of justice (18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-402) or conspiracy to

                   commit such offenses; and


                           (g)     Documents provided under Paragraphs 13(a) and 14(a) will be deemed

                   responsive to outstanding grand jury subpoenas issued to the defendant or any of its

                   subsidiaries.


                   17.     The United States agrees that when any person travels to the United States for

            interviews, grand jury appearances, or court appearances pursuant to this Plea Agreement, or for

            meetings with counsel in preparation therefore, the United States will take no action, based upon

            any Relevant Offense, to subject such person to arrest, detention, or service of process, or to

            prevent such person from departing the United States. This paragraph does not apply to an


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            individual's commission of perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making

            false statements or declarations (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §

            1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit such offenses in

            connection with any testimony or infonnation provided or requested in any Federal Proceeding.


                   18.     The defendant understands that it may be subject to suspension or debarment

            action by state or federal agencies other than the United States Department of Justice, Antitrust

            Division, based upon the conviction resulting from this Plea Agreement, and that this Plea

            Agreement in no way controls what action, if any, other agencies may take. However, the

            Antitrust Division agrees that, if requested, it will advise the appropriate officials of any

            governmental agency considering such action of the fact, manner, and extent of the cooperation

            of the defendant and its subsidiaries as a matter for that agency to consider before detennining

            what action, if any, to take. The defendant nevertheless affirms that it wants to plead guilty

            regardless of the suspension or debarment consequences of its plea.


                                          REPRESENTATION BY COUNSEL


                   19.     The defendant has been represented by counsel and is fully satisfied that its

            attorneys have provided competent legal representation. The defendant has thoroughly reviewed

            this Plea Agreement and acknowledges that counsel has advised it of the nature of the charge,

            any possible defenses to the charge, and the nature and range of possible sentences.


                                                   VOLUNTARY PLEA


                   20.     The defendant's decision to enter into this Plea Agreement and to tender a plea of

            guilty is freely and voluntarily made and is not the result of force, threats, assurances, promises,




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            or representations other than the representations contained in this Plea Agreement and

            Attachment A. The United States has made no promises or representations to the defendant as to

            whether the Court wiII accept or reject the recommendations contained within this Plea

            Agreement.


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                   21.     The defendant agrees that, should the United States determine in good faith,

            during the period that any Federal Proceeding is pending, that the defendant or any of its

            subsidiaries has failed to provide full, truthful, and continuing oooperation, as defined in

            Paragraph 13 of this Plea Agreement, or bas otherwise violated any provision of this Plea

            Agreement, the United States will notify counsel for the defendant in writing by personal or

            overnight delivery, email, or facsimile transmission and may also notify counsel by telephone of

            its intention to void any of its obligations under this Plea Agreement (except its obligations under

            this paragraph), and the defendant and its subsidiaries will be subject to prosecution for any

            federal crime of which the United States has knowledge including, but not limited to, the

            substantive offenses relating to the investigation resulting in this Plea Agreement. The defendant

            agrees that, in the event that the United States is released from its obligations under this Plea

            Agreement and brings criminal charges against the defendant or its subsidiaries for any offense

            referred to in Paragraph -15 of this Plea Agreement, the statute oflimitations period fot such

            offense will be tolled for the period between the date of the signing of this Plea Agreement and

            six (6) months after the date the United States gave notice of its intent to void its obligations

            under this Plea Agreement.




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                      22.    The defendant understands and agrees that in any further prosecution of it or its

            subsidiaries resulting from the release of the United States from its obligations under this Plea

            Agreement, because of the defendant's or its subsidiaries' violation of this Plea Agreement, any

            documents, statements, information, testimony, or evidence provided by it, its subsidiaries, or

            current or former directors, officers, or employees of it or its subsidiaries to attorneys or agents

            of the United States, federal grand juries, or courts, and any leads derived therefrom, may be

            used against it or its subsidiaries. In addition, the defendant unconditionally waives its right to

            challenge the use of such evidence in any such further prosecution, notwithstanding the

            protections of Fed. R. Evid. 410.


                                              ENTJRETY OF AGREEMENT


                      23.    This Plea Agreement and Attachment A constitute the entire agreement between

            the United States and the defendant concerning the disposition of the criminal charge in this case.

            This Plea Agreement cannot be modified except in writing, signed by the United States and the

            defendant.


                      24.    The undersigned is authorized to enter into this Plea Agreement on behalf of the

            defendant as instructed by the President & Chief Executive Officer of the defendant, who in tum

            has been authorized to so act by a resolution of the Board of Directors of the defendant. A copy

            of such instruction is attached to, and incorporated by reference in, thfs Plea Agreement.


                      25 .   The undersigned attorneys for the United States have been authorized by the

            Attorney General of the United States to enter this Plea Agreement on behalf of the United

            States.




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                   26.        A facsimile or PDF signature will be deemed an original signature for the purpose

        of executing this Plea Agreement. Multiple signature pages are authorized for the purpose of

        executing this Plea Agreement.


        DAI l;:D:_____________

                                                                                     Respectfully submitted,




        BY:_• --~~-,...~~----~~~-                                                    BY:.~ ~--_,,_____,.,,,,,,.__,__,,.........
               Yutaka Ohashl                                                            Kathryn M. Hellings
               Executive Officer, Group President                                       Jason D. Jones
               Automotive Equipment Group                                               Ryan J. Danks
               Mitsubishi Electric Corporation                                          Mark G. Grundvig
                                                                                        Paul T. Gallagher


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                                                                                        Tel: (202) 532-4890
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                  26.     A facsimile or PDF signature v.rill be deemed an original signature for the purpose

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          DATED:_/~/_'2_._.'f      /_f_'J________
                                                               Respectfully submitted,




         BY:.~
              Yu~hashi                        ·
              Executive Officer, Group President
              Automotive Equipment Group
              Mitsubishi Electric Corporation



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